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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
=======================================X
XIXIANG YANG, LILING LIU, and QIQI XU,           Case No. 17-CV-02577 (JSR)
individually and derivatively on behalf of
Nominal Defendant
GR SUPPLY CHAIN MANAGEMENT INC.,

                             Plaintiffs,

                 -against-

ZHIYU LUO,

                             Defendant,

                 -and-

GR SUPPLY CHAIN MANAGEMENT INC.,

                     Nominal Defendant.
=======================================X




    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION FOR
         SUMMARY JUDGMENT AND DISCOVERY SANCTIONS
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I.      INTRODUCTION

        Defendant Zhiyu Luo submits this memorandum of law in support of his motion to

dismiss the SHAREHOLDERS’ DERIVATIVE COMPLAINT (hereinafter “Complaint”)

pursuant to Federal Rule of Civil Procedure 56, as there are no genuine disputes as to any

material fact and the Defendant is entitled to judgment as a matter of law. Defendant further

submits this memorandum in support of sanctions pursuant to Federal Rule of Civil Procedure

37, for Plaintiffs’ counsel’s failures to cooperate during discovery.

        Plaintiffs Xixiang Yang, Liling Liu, QiQi Xu, and Nominal Defendant GR Supply Chain

Management, Inc. (hereinafter “GR Supply” or “Corporation”), assert fifteen (15) causes of

action against Defendant Luo directly and derivatively as follows:

        Direct causes of action: (1) Improper refusal to grant a statutory inspection; (2) breach of

fiduciary duties; (3) sale of unregistered securities in violation of §12(a)(1) of the Securities Act

of 1933 (15 U.S.C. § 77l(a)(1); (4) unjust enrichment; (5) conversion; (6) violations of the

Securities and Exchange Act of 1934, section 10b (codified in 15 U.S.C. § 78j) and Rule 10b-5

(17 C.F.R. 240.10b-5);

        Derivative causes of action: (7) breach of fiduciary duties; (8) gross mismanagement; (9)

usurpation of corporate opportunity; (10) corporate waste; (11) interference with contract; (12)

conversion; (13) abuse of control; (14) unjust enrichment; (15) improper refusal of statutory

inspection.

        The Complaint alleges that the Defendant committed the following wrongdoings in the

statement of facts: (i) failed to register the securities; (ii) failed to provide the Plaintiffs with

stock certificates, marketing materials, or formal documents; (iii) failed to observe corporate

formalities; (iv) failed to issue a corporate refund to a customer Yi Zhang; (v) sold company



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merchandise on Ebay for personal gain; and (vi) usurped corporate opportunities for his own

personal gain.

       GR Supply was formed primarily for the purpose of gathering electronic recycling in the

United States and exporting the materials to Hong Kong. Mr. Luo entered into a business

relationship with sophisticated, accredited investors. Rule 56(a)(1) statement ¶ 22, 33. The

Plaintiffs believed that the United States market was lucrative, and selected to work with the

Defendant because of his location and nationality. Id. at ¶42, 47. The disparity between the

business acumen of the parties is vast. The Plaintiffs own and operate electronics companies in

the People’s Republic of China. Id. at ¶19, 23. Mr. Luo is a freelance photographer with no

prior management or business experience. Id. at ¶16. The Defendant did not misrepresent his

abilities at the formation of this company. Id. at ¶ 34. The Plaintiffs knew, or should have

known, that the Defendant needed supervision and guidance. Additionally, Plaintiff Yang agreed

to provide that guidance and management.

       Mr. Luo is the GR Supply’s President on paper, but it was clear from the onset that this

was Mr. Yang’s company. Plaintiff Yang dictated the terms of the ownership for the corporation.

Id. at ¶45. Plaintiff Yang exercised control over transactions occurring outside of the U.S., and

maintained a strong supervision of the transactions occurring domestically. In reality, Mr. Luo

was primarily employed by Mr. Yang to source inventory to export from the United States to Mr.

Yang’s connections in Hong Kong.

       Mr. Luo may have failed to follow some corporate formalities as the President of GR

Supply. However, he exercised his best business judgment in running the corporation. Mr. Yang

received weekly, and at times daily reports from the Defendant. Id. at ¶ 78. Mr. Yang made

many important business decisions and had direct supervision of the daily operations. GR Supply




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failed because it was not profitable despite the Mr. Luo’s best business judgment. The

corporation became insolvent and was dissolved. Id. at ¶ 94.

         Summary judgment must be granted as a matter of law for all causes of action. The

record does not show, with any specificity, any false or materially misleading statements made

by the Defendant during the course of offering securities. There is no support in the record of

the defendant usurping corporate opportunities. There is no showing that the Defendant diverted

corporate assets for his own benefit. There are no suspicious Ebay transactions conducted by the

Defendant. Plaintiffs’ assertions of wrongdoing are merely conclusory, with no basis in fact.



II.      STANDARD FOR SUMMARY JUDGMENT



         To prevail on a motion for summary judgment, the movant must “show[]that there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Fed.R.Civ.P 56(a). The movant bears the burden of demonstrating the absence of a

question of material fact. In making this determination, the Court must view all facts “in the light

most favorable” to the non-moving party. Holcomb v. Iona Coll., 521 F.3d 130, 132 (2d Cir.

2008).

         The Court should not accept evidence presented by the non-moving party that is so

“blatantly contradicted by the record… that no reasonable jury could believe it.” Scott v. Harris,

550 U.S. 372, 380 (2007). “Conclusory allegations, conjecture, and speculation” Kerzer v.

Kingly Mfg., 156 F.3d, 400 (2d Cir. 1998), as well as the existence of a mere “scintilla of

evidence in support of the [nonmoving party’s] position,” Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 252 (1986), are insufficient to create genuinely a disputed fact. A moving party is




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“entitled to judgment as a matter of law” on an issue if there is an absence of evidence in the

record to support the nonmoving party’s position. See Celotex Corp. v. Catrett, 477 U.S. 317,

325 (1986).



III.     THE COMPLAINT MUST BE DISMISSED AS A MATTER OF LAW


(a)      The Derivative Causes of Action Must be Dismissed 1

         Generally, a shareholder has no individual cause of action for claims that allege wrongs

against the corporation. Abrams v. Donati, 66 NY2d 951, 953 (NY 1985). Although a

shareholder of a dissolved corporation has the capacity to sue derivatively, the court may use its

equitable powers to “dispense with the presence of [the] defunct corporation if the shareholder is

in reality the only one injured.” Geltman v. Levy, 11 AD2d 411, 413 (1st Dep’t 1960). In this

instant matter, the Plaintiffs “are not seeking to vindicate their rights as stockholders but to

recover their share of the… assets, which was [allegedly] stolen from them.” See Venizelos v.

Oceania Maritime Agency, Inc., 268 AD2d 291, 292 (1st Dep’t 2000).

         The majority of the derivative causes of action are duplicative of the direct causes of

action. The shareholders are requesting relief for money damages, not equitable relief. “New

York does not have a clearly articulated test” for whether a claim is direct or derivative, “but

approaches the issue on a case by case basis depending on the nature of the allegations” and the

party receiving the benefit of any awarded remedy. Yudell v. Gilbert, 949 NYS.2d 380, 383 (1st

Dep’t 2012).




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  The Shareholder Derivative Complaint is not verified as required in Fed.R.Civ.P 23.1(b). Plaintiff shareholder Qiqi
Xu testified at his deposition that he did not know of any issues with corporation until July 2017, three months after
the Complaint was filed on his behalf. Exhibit H at 41.


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       The Plaintiffs did not make a pre-suit demand and failed to show demand futility for the

derivative causes of action. NY BCL § 626(c) requires a pleading of the specific efforts the

Plaintiffs used to obtain action. There was no demand made specifically for the eleventh cause of

action alleging Interference with a contract claim. The Plaintiffs cannot demonstrate that

demanding action would be futile. As a result the eleventh cause of action must be dismissed.



(b)    The Business Judgment Rule Presumes Defendant’s Good-Faith and Honest Judgment


       The business judgment rule “bars judicial inquiry into actions of corporate directors taken

in good faith and in the exercise of honest judgment in the lawful and legitimate furtherance of

corporate purposes.” Auerbach v. Bennet, 47 NY2d 619, 629 (NY 1979). It is “grounded in the

prudent recognition that courts are ill equipped and infrequently called on to evaluate what are

and must be essentially business judgments.” Id. at 630. The business judgment rule creates a

presumption that the officers of a corporation act in good faith. Patrick v Allen, 355 F.Supp.2d

704, 710 (SDNY 2005). Absent evidence of bad faith or fraud, courts must respect the business

decisions of corporate officers. Id. at 631.


(c)    The Plaintiffs’ Fail to Pierce the Corporate Veil

       To survive a cause of action for liability on the theory of piercing the corporate veil, the

complaining party must, establish that the defendant, abused the privilege of doing business in

the corporate form to perpetrate a wrong or injustice against the party asserting the claim such

that a court in equity will intervene. See ABN AMRO Bank, N.V. v MBIA Inc., 17 N.Y.3d 208,

229 (2011).




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       Defendant Luo did not exercise complete control and dominion over the corporation. He

was managed and consulted with Mr. Yang, who received regular reports and provided strict

supervision. See Exhibit P.

       The defendant did not abuse the corporate form to perpetrate a wrong against the

Plaintiffs. The corporate form was used to legitimately conduct the business of gathering

recycled inventory and exporting the inventory to Hong Kong. The record does not show that the

Defendant used the corporate form to specifically defraud the Plaintiffs.


(d)    Causes of Action One and Fifteen, Improper refusal to grant the statutory right of
       inspection


       Causes of action one and fifteen request judgment pursuant to CPLR Article 4, ordering

GR Supply to comply with a statutory inspection pursuant to Section 624 of the NY General

Business Corporation Law. CPLR Article 4 is the procedural mechanism for “Special

Proceedings.” This action was not commenced by Petition and Notice of Petition as required by

CPLR § 403.

       Defendant has provided all of the records available for the corporation, which are

additionally appended as exhibits. Therefore the causes of action requesting the statutory

inspection are moot. See Huber v. ARCK Credit Company, LLC, No. 12-CV-8175, at FN4 (JMF)

(SDNY Feb 5, 2016) (denying a request for an accounting as moot, regardless of the requesting

party’s complaints of content); See Sarafianos v. Shandong Tada Auto-Parking Co., Ltd., No.

13-CV-3895, at (SAS) (SDNY May 8, 2015) (denying an accounting as moot, as it was provided

during the course of litigation).

       As all of the records have been provided to the Plaintiffs, the request for an inspection of

the records is moot, and must be dismissed.



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(e)    Causes of Action Two and Seven Breach of Director’s Fiduciary Duties

       Causes of action two and seven alleged that the Defendant breached his fiduciary duties

by favoring his own interests at the expense of GR Supply. CPLR § 3016(B) requires that

pleadings for breach of fiduciary duties be made with specificity. Peacock v. Herald Square Loft

Corp., 67 AD3d 442,443 (1st Dep’t 2009 ) (dismissing a breach of fiduciary duty claim where it

was alleged that the director defendant rejected plaintiffs’ proposal due to the self-interest of the

directors for lack of specificity). Both causes of action for breach of fiduciary duty fail to plead

specific facts showing any interested or fraudulent behavior.

       The record does not show any fraudulent transactions where the Defendant breached any

fiduciary duties to the corporation or the Plaintiffs. Additionally, the Plaintiffs have not rebutted

the business judgment rule, and as such the claims for breach of fiduciary duty should be

dismissed. As there is no genuine issue of fact, judgment must be granted in favor of the

Defendant as a matter of law.



(f)    Cause of Action Three Sale of unregistered securities in violation of §12(a)(1) of the
       Securities Act

       Plaintiffs make a claim pursuant to § 12(a)(1) of the Securities Act. 15 U.S.C. § 77l(a)(1)

provides a right of action for the immediate purchaser to rescind the sale and demand a return of

the purchase price against an individual who offered or sold unregistered securities required to be

registered. The purchaser must bring the action "within one year after the violation upon which it

is based" and, in no event, "more than three years after the security was bona fide offered to the

public." 15 U.S.C. § 77m.




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        GR Supply was a privately held company. There were no offers of stock made to the

public. Rule 56 (a)(1) Statement ¶54. Mr. Yang offered and sold securities to the other Plaintiffs

and to the Defendant. Id. at ¶ 45. Mr. Yang determined the purchase price and ownership

distribution. The conversations between the parties show that the Plaintiff, not the defendant

made all offers of sale of securities.

        Regardless of who offered the securities for sale, it is undisputed that GR Supply was

legally dissolved in March 2016. Id. at ¶ 94. The Complaint was not filed until April 2017, and

therefore this claim is time-barred.

        Plaintiff Yang was the “person who . . . offers or sells a security" in violation of the

registration requirement of the Securities Act. " [T]he language of § 12(1) contemplates a buyer-

seller relationship not unlike traditional contractual privity. Thus, it is settled that § 12(1)

imposes liability on the owner who passed title, or other interest in the security, to the buyer for

value.” Pinter v. Dahl, 486 U.S. 622, 642 (1988).

        The conversations between the parties show that Plaintiff Yang was the primary promoter

of the unregistered securities. See Exhibit O. The doctrine of in pari delicto bars recovery from

Plaintiffs where the plaintiff participates extensively as the promoter of unlawful securities

distribution. Id. at 634-635.

        The GR Supply securities were exempt from Federal and New York State registration

requirements pursuant to the exemption provisions of § 4(a)(2) of the Securities Act and the

Martin Act. Further Rule 506(b) of Regulation D, provides as a safe harbor for the securities, as

all Plaintiffs are accredited investors. Rule 56(a)(1) Statement ¶ 22, 27, 29, 30.

        It is undisputed that the Plaintiffs cannot succeed on this cause of action as a matter of
law.




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(g)    Causes of Action Four and Fourteen Unjust Enrichment


       Causes of action four and fourteen allege that the Defendant was unjustly enriched by the

Plaintiffs and the corporation, respectively. To prevail on an unjust enrichment claim under New

York law, a plaintiff must show that “(1) the defendant was enriched, (2) at the expense of the

plaintiff, and (3) it would be inequitable to permit the defendant to retain that which is claimed

by the plaintiff.” Koenig v. Boulder Brands, Inc., 995 F.Supp.2d 274, 290 (S.D.N.Y. 2014).

       Unjust enrichment must fail when there are adequate remedies at law. Plaintiffs cannot

allege unjust enrichment claims where recognized causes of action are adequately plead. See

Ashwood Capital, Inc., v. OTG Mgmt., Inc., 99Ad.3d 1, 10 (1st Dep’t 2012).

       Plaintiffs have directly and derivatively pled causes of action for conversion, breach of

fiduciary duty, sale of unregistered securities, violations of section 10 of the Securities Exchange

Act of 1934, gross mismanagement, corporate waste, and abuse of control.

       The Plaintiffs fail to set forth a unique set of facts entitling the Plaintiffs to equitable

relief separate from the legal relief available in the aforementioned causes of action.

Additionally, the record shows that the Defendant was not unjust enriched. Mr. Luo went into

debt to meet the financial obligations of the corporation. See Exhibit C, ¶ 142-145.


(h)    Causes of Action Five and Twelve Conversion


       To successfully plead a conversion claim in New York, Plaintiffs must plead (1)

"plaintiff's possessory right or interest in the property, “and (2) "defendant's dominion over the

property or interference with it, in derogation of plaintiff's rights." Colavito v. N.Y. Organ Donor

Network, Inc., 8 N.Y.3d 43, 50, (2006). "A conversion claim cannot succeed, however, where the



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party fails to allege[] a wrong that is distinct from any contractual obligations.'" Gate

Technologies, LLC v. Delphix Capital Markets, LLC, No. 12 Civ. 7075, (S.D.N.Y. July 9, 2013).


       In the Fifth cause of action, the Plaintiffs allege that :

              101.     Defendant[ ] exercised dominion over the Plaintiffs money by
                       unlawfully taking the money and engaging in conduct not outside
                       the bounds of the agreement and detrimental to the interests of the
                       Plaintiffs. [Sic]

              102.     Defendant[ ] breached the terms of the agreement, converted
                       Plaintiffs’ assets, and now refuse to make the Plaintiffs whole.

       The Twelfth cause of action asserts:

              148.     Defendant Luo breached the terms of the Agreement with
                       Plaintiffs, converted the Plaintiff’s funds…


       The Plaintiffs solely assert that the Defendant breached an agreement in contract. As such

the causes of action for conversion must be dismissed as a matter of law.



(i)    Cause of Action Six, Section 10 and Rule 10b-5 of the Securities Exchange Act of 1934


       Plaintiffs have alleged claims against Defendant under Section 10 of the Securities

Exchange Act of 1934 and Rule 10b-5. The Complaint fails to meet the heightened pleading

Standard under Rule 9(b) and the Private Securities Litigation Reform Act ("PSLRA"). Private

securities fraud claims are subject to a heightened pleading standard. Rule 9(b) requires

plaintiffs to allege the circumstances constituting fraud with particularity.

       For claims of securities fraud under Section 10(b) and Rule 10b-5, Plaintiffs must

adequately prove each of the following elements: (1) that defendants either made one or more

misstatements of material fact or omitted to state a material fact that defendants had a duty to




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disclose; (2) that defendants made this misstatement or omission with scienter; (3) that

defendants made this misstatement or omission in connection with the purchase or sale of

securities; (4) that one or more plaintiffs relied upon the misstatement or omission; and (5) that

such reliance was the proximate cause of a plaintiff’s loss. See Lentell v. Merrill Lynch & Co.,

396 F.3d 161, 172 (2d Cir. 2005).

       There is no evidence that shows any material misstatement of the Defendant. There is no

evidence showing that the Plaintiffs reasonably relied on any misrepresentations. There is a

stronger inference that the Plaintiffs “failed to undertake the due diligence expected of a

sophisticated investor in an arm’s length transaction.” See Erie Group LLC v. Guyaba Capital,

LLC, No. 14-CV-5668 (SAS) (June 8, 2015). New York law imposes an affirmative duty on

sophisticated investors to protect themselves from misrepresentations made during business

acquisitions by investigating the details of the transactions and the business they are acquiring.

See Abrahami v. UPC Constr. Co., 224 AD2d 231, 234 (1st Dep’t 1996).

       Plaintiff Yang and Plaintiff Xu acknowledge that the Defendant did not make any false

statements in connection with the purchase of securities. The Defendant did not provide the

Plaintiffs with any documents in an attempt to defraud or mislead them into investing. Rule 56

(a) (1) Statement ¶48. The Defendant did not overstate or misrepresent his experience with

operating a company.

       There is no evidence in the record to support that the Defendant was the maker of a false

or misleading statement that induced the Plaintiffs to purchase securities. As a result, the Court

must dismiss the sixth cause of action of the Complaint.




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(j)    Cause of Action Eight Gross Mismanagement


       Plaintiffs allege with mere conclusory statements that the Defendant grossly mismanaged

the corporation. The cause of action gross mismanagement is premised on the allegations that the

Defendant breached his fiduciary duties of care. As the cause of action of gross mismanagement

is premised on a cause of action separately pled, it is subsumed in the seventh cause of action.

See Lio v. Zhong, 814 NYS2d 562 (Sup. Ct. N.Y. 2006).

       Further, there are no facts in the pleadings or in the record to overcome the business

judgment rule. As such the eighth cause of action for gross mismanagement must be dismissed as

a matter of law.


(k)    Cause of Action Nine Usurpation of Corporate Opportunity

       The ninth cause of action alleges that the Defendant stole corporate opportunities from

belonging to the company. It further alleges that the Defendant unlawfully usurped financial

opportunities that belonged to the company. The Complaint fails to allege a specific transaction

where the Defendant usurped a corporate opportunity, but tends to state that the Defendant made

unauthorized online sales of corporate merchandise for his own use and benefit.

       The only showing that the Defendant usurped corporate opportunities is Plaintiff Yang’s

incredible deposition testimony. Plaintiff Yang stated that the defendant “sold things online and

[the Defendant] never told [him] about it, and [the Defendant] didn’t go through the company at

that time.” Exhibit I at 65. When asked how Mr. Yang found about the online sales, Mr. Yang

stated that the Defendant himself told Mr. Yang about the sales in 2014. Id. at 66. When asked if

anyone else told Mr. Yang about online sales, Mr. Yang stated that “his American friends” told



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him about the online sales. Id. at 67. Mr. Yang was unable to identify his “American friends.” Id.

This contradictory, conclusory testimony does not demonstrate the Defendant actually engaged

in any online sales for his own personal benefit.

         There are no credible facts that tend to show that the Defendant usurped corporate

opportunities. As a result, this cause of action must be dismissed as a matter of law.


(l) Cause of Action Ten Corporate Waste

         The claim of corporate waste is the diversion of corporate assets for improper or

unnecessary purposes. Aronoff v. Albanese, 446 NYS2d 368, 370 (1st Dep’t 1982). To prove

corporate waste under New York law, a claimant must "demonstrate that no person of ordinary

sound business judgment would say that the corporation received fair benefit." Hanson Trust

PLC v. ML SCM Acquisition, Inc., 781 F.2d 264, 279 n.9 (2d Cir. 1986). "[U]nder the New

York business judgment rule, the actions of corporate directors are subject to judicial review

only upon a showing of fraud or bad faith." Stern v. Gen. Elec. Co., 924 F.2d 472, 476 (2d Cir.

1991). "[A]llegations of waste, standing alone, will not be enough." Id.

         As the Plaintiffs have not provided more than mere allegations of corporate waste, the

tenth cause of action must be dismissed as a matter of law.


(m)      Cause of Action Eleven Interference with Contract


         As discussed supra in I(a), this cause of action must be dismissed for failure to make a

pre-suit demand. The corporation does not benefit by bringing this cause of action against the

Defendant. The Defendant used his best business judgment in managing the transaction with Yi

Zhang.




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       Under New York law, the elements of a claim for tortious interference are: "(1) there is

a business relationship between the plaintiff and a third party; (2) the defendant, knowing of that

relationship, intentionally interferes with it; (3) the defendant acts with the sole purpose of

harming the plaintiff, or, failing that level of malice, uses dishonest, unfair, or improper means;

and (4) the relationship is injured." Goldhirsh Grp., Inc. v. Alpert, 107 F.3d 105, 108-109 (2d

Cir. 1997).

       The record shows that Mr. Luo exercised his best business judgment in failing to fulfill

the entire order to Yi Zhang. The Plaintiff Mr. Yang told Mr. Luo to fulfill Mr. Zhang’s order at

cost, with no markup for any profit. Rule 56(a)(1) Statement 90, 91. Mr. Luo used the remaining

corporate inventory to fulfill the orders that were sent to Mr. Zhang. Id. at ¶ 92.

       Mr. Luo did not fail to meet the obligations of the contract for his own gain. Mr. Luo did

not interfere with the contract for the sole purpose of harming the corporation. There is existing

evidence showing that there were insufficient inventory and insufficient funds to meet the order.

Therefore this cause of action must be dismissed as a matter of law.


(n)    Cause of Action Thirteen Abuse of Control


       Plaintiffs allege, without specificity, that the Defendant caused the corporation to engage

in “wrongful conduct.” This allegation is insufficient to overcome the presumptions of good-

faith within the business judgment rule. As such, this cause of action must be dismissed as a

matter of law.


III.   The Court Should Decline Supplemental Jurisdiction




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       The Complaint alleges two Federal causes of action discussed supra in II (f) and (i).

These two causes of action grant this Court Federal question jurisdiction pursuant to 28 U.S.C. §

1331. Should the Court dismiss the Federal causes of action, the Court should decline to exercise

jurisdiction over any remaining state-law claims. See Pitchell v. Callan, 13 F.3d 545, 549 (2d

Cir. 1994) (stating that "it is axiomatic that a court should decline to exercise jurisdiction over

state-law claims when it dismisses the federal claims prior to trial").


IV.    Failure to Cooperate in Discovery Sanctions

       Federal Rule of Civil Procedure 37 allows a court to impose sanctions for discovery-

related abuses, and gives the court “broad discretion in fashioning an appropriate sanction.”

Residential Funding Corp. v. DeGeorge Fin. Corp., 306 F.3d 99, 101 (2d Cir. 2002). The

procedural history of this case and discourse between counsels is detailed in counsel’s

affirmation in support of Defendant’s motion.

       The factors in determining the appropriate sanction to impose under Rule 37 for failure to

obey a court order, include: "(1) the willfulness of the non-compliant party or the reason for

noncompliance; (2) the efficacy of lesser sanctions; (3) the duration of the period of

noncompliance, and (4) whether the non-compliant party had been warned of the consequences

of... noncompliance." Agiwal v. Mid Island Mortg. Corp., 555 F.3d 298, 302-303 (2d Cir. 2009).

A court, in imposing sanctions, may order "the disobedient party... to pay the reasonable

expenses, including attorney's fees, caused by the failure, unless the failure was substantially

justified or other circumstances make an award of expenses unjust." Fed.R.Civ.P. 37(b)(2)(C).

       “Even in the absence of a discovery order, a court may impose sanctions of a party for

misconduct in discovery under its inherent power to manage its own affairs.” Residential

Funding, 306 F.3d at 106-107. In order to impose sanctions under the Court’s inherent power,



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there must be a “particularized showing of bad faith, which requires [] clear evidence that the

challenged actions are entirely without color and are taken for reasons of harassment or delay or

for other improper purposes.” Whalen v. CSX Transportation, 13-CV-3784 (LGS) (HBP) (SDNY

Sept. 29, 2016) (Pitman, M.J.) (internal citations omitted).


(a)      Plaintiffs’ Counsel’s Extortionate Attempts

         Plaintiffs’ counsel has repeatedly threatened Defense counsel with Rule 11 sanctions for

good-faith denials in the Amended Answer in an attempt to leverage a settlement. When Mr.

Kelley initially threatened the sanctions, defense counsel was told that the defendant had three

days to settle or defense counsel would be sanctioned.

         On June 1, 2017, Mr. Kelley attempted to extort a settlement from the Defendant. This

resulted in a sealed hearing before the Court on June 2, 2017. The Court is fully apprised of the

facts.

         Plaintiffs’ counsel has continuously made threats of a criminal prosecution ancillary to

the instant civil matter in violation of N.Y Rule of Professional Conduct 3.4(e). Specifically, Mr.

Kelley has threatened to have Mr. Luo prosecuted for tax evasion. 2 It is improper and unethical

for an attorney to threaten criminal prosecution to gain an advantage in an unrelated civil matter.

These threats are made in an attempt to pressure the Defendant into settlement.


(b)      Intentional Withholding of Documents



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  N.Y Rule of Professional Conduct 3.4(e), Comment [5]: [5] The use of threats in negotiation may constitute the
crime of extortion. However, not all threats are improper. For example, if a lawyer represents a client who has been
criminally harmed by a third person (for example, a theft of property), the lawyer’s threat to report the crime does
not constitute extortion when honestly claimed in an effort to obtain restitution or indemnification for the harm
done. But extortion is committed if the threat involves conduct of the third person unrelated to the criminal harm
(for example, a threat to report tax evasion by the third person that is unrelated to the civil dispute).
(emphasis added).



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       Mr. Kelley intentionally withheld documents that were Ordered to be produced on June

1, 2017. Mr. Kelley possessed the documents on or before June 27, 2017. However, the

documents were not provided until after the Defendant’s deposition. Counsel intentionally

withheld discoverable documents for no other purpose but bad faith.

       The entirety of the documents was not produced until August 6, 2017. Most of the

documents were not translated from Chinese to English, as Mr. Kelley had previously

represented to the Court.


(c)    Non-Party Deposition of Amanda Zhang


       Plaintiffs’ counsel intentionally scheduled a deposition for a non-party witness on a date

where opposing counsel was unavailable. Mr. Kelley then failed to exercise any courtesy when

defense counsel requested a new date. As a result, defense counsel was required to seek relief

from the Court. Ultimately, Mr. Kelley agreed to reschedule. However, he did not notify defense

counsel of the new date.

       The Court Ordered that the deposition transcript would be provided for information

purposes only. Plaintiffs’ counsel has failed to comply with the Court order despite multiple

requests.


(d)    Plaintiffs’ Depositions

       Defense counsel sent six emails in an attempt to schedule Plaintiffs’ depositions.

Ultimately, the Court Ordered that the Plaintiffs’ depositions would be held under the

supervision of Magistrate Judge Netburn within the Courthouses of the Southern District of New

York. Only two of the three Plaintiffs’ depositions were held. During the course of the

depositions, Mr. Kelley was unprofessional and disruptive.



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         On August 16, 2017, counsel was Ordered to appear before the Honorable Magistrate

Judge Pitman at 9AM for the deposition of Liling Liu. Mr. Kelley failed to appear and failed to

contact opposing counsel and the court. On Saturday August 19, 2017, Mr. Kelley cancelled

Liling Liu’s depositions for that following Monday morning. As a result of both cancellations,

there are outstanding interpreter fees in the amount of $1,050.

         The conduct of the Plaintiffs’ counsel merits an award of the payment of expenses,

including legal fees and interpreter fees, expended during the course of discovery and the making

of this instant motion. It is further requested that the Court grant monetary sanctions, as well as,

terminating sanctions dismissing this action in whole or in part.

Dated:          September 18, 2017
                New York, New York
                                                              Respectfully submitted,

                                                              /s/ Renee M. Wong

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